Case 1:22-mc-00096-RC Document 1-46 Filed 10/17/22 Page 1 of 5




           EXHIBIT A-46
        Case 1:22-mc-00096-RC Document 1-46 Filed 10/17/22 Page 2 of 5




               DISTRICT OF COLUMBIA COURT OF APPEALS

               BOARD ON PROFESSIONAL RESPONSIBILITY                            Sep 15 2022 2:11pm


 In the Matter of

 JEFFREY B. CLARK                                   Disciplinary Docket No.

 A Member of the Bar of the District                2021-D193
 of Columbia Court of Appeals

 Bar No. 455315

 Date of Admission: July 7, 1997


                        MOTION REGARDING PUBLICLY
                             AVAILABLE FILINGS

       Comes now Jeffrey B. Clark, Respondent in the above-entitled matter, and

respectfully asks the responsible officials with the Board of Professional

Responsibility to address the following issue regarding the publicly available

filings in this case:

       Attached hereto as Exhibit A is the list of publicly available filings in this

case as of 6:32 PM on September 14, 2022.

       Respondent’s counsel received multiple media inquiries on September 14,

2022, regarding these documents.

       The publicly available documents on this web page are far less than all those

in the docket that should be on there under the prior orders in this case. For

example, the Committee Chair’s Report and Recommendation on the Respondent’s
       Case 1:22-mc-00096-RC Document 1-46 Filed 10/17/22 Page 3 of 5




Request for Deferral is posted, but the Request for Deferral and ODC’s response

thereto are not posted.

      Nor is the Motion to Recuse former Board Chair Matthew Kaiser publicly

available.

      Nor is Respondent’s Motion to Dismiss and Brief in Support, ODC’s

Omnibus Response, or Respondent’s Reply in Support of the Motion to Dismiss.

      The incomplete public record is creating a misleading impression in the

reporters who are following this case, and likely in any reporting they may publish,

and in turn in the public as to the arguments of the parties and proceedings in this

case. Public reporting without the Respondent’s arguments available for context

would unduly prejudice the interests and public reputation of the Respondent.

ODC and the Board Chair have emphasized the public’s interest in the proceedings

as a reason why they should be public with only limited redactions for certain

Confidential Information as previously ordered. An incomplete and therefore

misleading set of redacted public filings frustrates rather than advances this policy.

Therefore, Respondent respectfully requests that if the redacted filings in this case

are to be made public, then all redacted filings suitable for public disclosure should

be made public, and not the incomplete and misleading set of those redacted filings

reflected in Exhibit A.




                                          2
       Case 1:22-mc-00096-RC Document 1-46 Filed 10/17/22 Page 4 of 5




      In making this request, Respondent does not waive and indeed, while

recognizing the Board Chair has already ruled on this issue, reasserts his position

that this entire proceeding should be under seal, as argued in other filings. If it

were under seal this problem would not exist.

      Respondent respectfully requests that this problem be corrected

expeditiously.

      Respectfully submitted this 14 day of September, 2022.

 /s/ Charles Burnham                           Robert A. Destro*
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 progress




                                           3
       Case 1:22-mc-00096-RC Document 1-46 Filed 10/17/22 Page 5 of 5




                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party

with a copy of this pleading by email:

      Hamilton P. Fox
      Jason R. Horrell
      D.C. Bar
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      foxp@dcodc.org

      This this 14 day of September, 2022.


/s/ Charles Burnham
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                                         4
